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                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York


                                                     The Jacob K. Javits Federal Building
                                                     26 Federal Plaza, 37th Floor
                                                     New York, New York 10278


                                                     October 24, 2024

BY ECF
The Honorable Jennifer H. Rearden
United States District Judge
500 Pearl Street
Southern District of New York
New York, New York 10007

       Re:     United States v. Sergey Shestakov, 23 Cr. 16 (JHR)

Dear Judge Rearden:

         The Government writes in response to defendant Sergey Shestakov’s October 17, 2024
letter requesting an ex parte conference to apprise the Court of “specific elements of the defense
strategy.” (Dkt. 170). Consistent with the practice in this District, the Government does not oppose
an ex parte defense conference to discuss defense theories that could affect the Court’s analysis of
the Government’s motion under Section 4 of the Classified Information Procedures Act. The
Government, however, opposes the defense raising its baseless discovery allegations with the
Court in an ex parte setting. As the Government has repeatedly stated, (Dkts. 155 & 165), if the
defendant seeks relief for any claimed discovery violations, he should file a motion, to which the
Government can respond.


                                                     Respectfully submitted,

                                                     DAMIAN WILLIAMS
                                                     United States Attorney

                                               By:    /s/
                                                     Rebecca T. Dell
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Cc:    Defense Counsel (by ECF)
